               Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 1 of 15
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)       ‫ ܆‬Original      ‫ ܆‬Duplicate Original

    United States Courts
  Southern District of Texas
                                 UNITED STATES DISTRICT COURT
           FILED
                                                        for the
         April 13, 2023                                                                                     LODGED
                                                                                                     CLERK, U.S. DISTRICT COURT

Nathan Ochsner, Clerk of Court              Central District of California
                                                                                                     4/10/2023
 United States of America                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             4:23-mj-716                                         jb
                                                                                                   BY: ____________BB______ DEPUTY

                 v.
                                                                  Case No.
 BRIAN MICHAEL GAHERTY,                                                             2:23-mj-01708-DUTY

                 Defendant.
                                                                                                          April 10, 2023
                              CRIMINAL COMPLAINT BY TELEPHONE
                             OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of February 9, 2023, in the county of Los Angeles in the Central District of California, the

defendants violated:

           Code Section                                     Offense Description

           18 U.S.C. § 875(c):                              Transmission of Threat to Injure the Person
                                                            of Another in Interstate Commerce

This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                            /s/
                                                                               Complainant’s signature

                                                                       Michael Guest, U.S. Capitol Police
                                                                                Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed.
                                                                       d. R. C
                                                                             Crim.
                                                                              rim. P. 4.11 by
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                                                                                                 ep

 Date:                $SULO
                                                                                     Judge’s signature
                                                                                             siignature

 City and state: Los Angeles, California                                      Hon
                                                                              Hon. Pedro V
                                                                                         V. Castillo
                                                                                   Printed name and title


AUSA: Laura A. Alexander x1019
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 2 of 15



                               AFFIDAVIT

     I, Michael Guest, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Brian Michael Gaherty

(“GAHERTY”) for a violation of 18 U.S.C. § 875(c) on or about

August 8, 2022 (transmission of threat to injure the person of

another in interstate commerce) (the “Subject Offense”).

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant, and does not purport to set forth all of my

knowledge of the investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only and all dates and times are approximate.

                       II. BACKGROUND OF AFFIANT

     1.      I am a Special Agent with the United States Capitol

Police (“USCP”), and have been so employed for approximately

twelve years.    I have been assigned to the Threat Assessment

Section since 2021.    I have received the following trainings

and/or certifications: Federal Law Enforcement Criminal

Investigator Training Program, Interview and Interrogation

Techniques, Fraud Detection and National Security, Intelligence

                                    1
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 3 of 15



Analyst Training Program, Uniformed Police Training Program,

Digital Photo Metadata Fraud Training, Investigating Organized

Groups Training, Internet Investigative Tool Training, Criminal

Intelligence Training, Criminal Analysis, Domestic Terrorism and

Hate Crimes, and Focused & District Adjudications Training.

     2.    The mission of the USCP is the protection of

Congress’s Members, employees, visitors, and facilities, so that

Congress’s Members can fulfill its constitutional and

legislative responsibilities in a safe, secure and open

environment.    As a USCP Special Agent, I have participated in

and conducted numerus investigations to fulfill this mission.

For example, I have investigated several types of threats for

violations of federal law, including offenses involving

telephonic threats, social media threats and threats to commit

targeted violence using firearms.

                   III. SUMMARY OF PROBABLE CAUSE

      1.   Since 1991, Congresswoman Maxine Waters, an 84-year-

 old African-American woman, has served as the United States
 Representative for California’s 43rd Congressional District.

     2.    On November 16, 2022, an unidentified suspect called

Congresswoman   Waters’ Hawthorne, California office, located in

the Central District of California, and told a member of her

staff that he was going to assault Congresswoman Waters.           The

suspect used the following phone number: (346) 803-9445 (the

“target phone number”).

     3.    Through review of T-Mobile and TracFone data related

to the target phone number, as well as in-person and telephonic

                                    2
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 4 of 15



interviews with the suspect, USCP agents identified the suspect

as GAHERTY, a 60-year-old resident of Houston, Texas.

     4.      Further investigation by USCP agents revealed that

GAHERTY used the same phone number to leave at least four racist

voicemails threatening to kill or assault Congresswoman Waters

between August and November 2022, including a threat to “cut

your black ass throat nigga” on August 8, 2022.

     5.      GAHERTY has also threatened to assault at least two

other Congresswomen of color.      For example, between September

2022 and February 2023, GAHERTY used the target phone number to

leave at least eleven voicemails that threatened to assault

these public officials.

                    VI.   STATEMENT OF PROBABLE CAUSE

     3.      Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.      An Unidentified Suspect Calls Congresswoman Maxine
             Waters’ Hawthorne, California District Office Using
             the Target Phone Number and Threatens to Assault
             Congresswoman Waters

     4.      On November 16, 2023, at 4:37 p.m. PST, a suspect,

later identified as GAHERTY, called Congresswoman Maxine Waters’

Hawthorne office from the target phone number and spoke to staff

assistant N.W.    The suspect stated, “Tell Congresswoman Maxine

Waters when I see her on the street I’m going to bust her upside

her head.”    N.W. asked this person who was calling, and the

suspect replied, “fuck, who this is, tell that lying Bitch I'm

looking for her.”


                                    3
    Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 5 of 15



     5.    The following day, the District Director of

Congresswoman Waters’ office, B.J., reported this threatening

call to the U.S. Capitol Police (“USCP”).         B.J. also provided

the USCP with copies of two threatening voicemails received by

Congresswoman Waters’ office in August 2022.

     6.    USCP agents also conducted a one-time exigent ping of

the target phone number, and contacted T-Mobile and requested

historical cell-site records for the past 48 hours.           USCP agents

determined that the phone associated with target phone number

was physically located in Houston, Texas at the time he called

Congresswoman Waters’ office on November 17, 2022.

     7.    Specifically, USCP agents determined that on November

17, 2022, the target phone number connected to a cellular tower

located at 4325 2/3 W. Fuqua St #C, Houston, Texas 77045, at the

time that the target phone number called Congresswoman Waters’

Hawthorne, California office.       This tower is approximately .7

miles away from GAHERTY’s residence 1.

     8.    USCP agents also reviewed the historical cell-site
data for the 48 hours preceding November 17, 2022 provided by T-

Mobile, and learned that the target phone number made numerous

calls, of lengthy durations, to phone numbers ending in -9401, -

1209, and -2028, which open-source databases indicate are

associated with GAHERTY’s siblings, I.J. and J.B.G.           Open-source

databases also revealed that these individuals previously lived

at GAHERTY’s residence.

     1 USCP agents reviewed property records for this address and
learned that GAHERTY owns the property.


                                     4
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 6 of 15



     9.     Subscriber information provided by T-Mobile for the

target phone number does not show a subscriber name or address

for the target phone number, but indicates that the brand of the

phone associated with the target phone number is TracFone, and

the phone was activated on October 7, 2020.        Subscriber

information provided by TracFone for the target phone number

also does not show a subscriber name or address for the target

phone number, but indicates that the serial number associated

with the target phone number is 016023003347899.         As discussed

below, during an interview, GAHERTY showed agents a receipt that

showed the purchase of a TracFone with the same serial number.

          b. Further Investigation Reveals That The Unidentified
             Suspect Also Used the Target Phone Number to Leave
             Four Voicemails Threatening to Assault and Kill
             Congresswoman Maxine Waters in August and November
             2022

     10.    On August 8, 2022, at approximately 7:46 p.m. PST, an

unidentified suspect called the phone number associated with

Congresswoman Waters’ Hawthorne, California district office from

the target phone number, and left the following voicemail:

            Hey, you black bitch.       You fuck with my
            people man. All that racism shit bitch, you
            up in age, 80 years old and shit, trying to
            remember 1960 and all that bullshit.      And
            causing controversy bitch. We got something
            for   your    ass   now   bitch,   you  black
            motherfucker.    Yeah, we coming for you bro.
            You better.       Hey, like you told them
            motherfuckers to go and and do what they had
            to do. We coming for your black ass, bitch
            ass now motherfucker.     You hoe ass bitch.
            I'mma cut your throat, I'mma cut your black
            ass throat nigga.




                                    5
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 7 of 15



     11.     A few minutes later, an unidentified suspect called

Congresswoman Waters’ Hawthorne, California district office

again, from the target phone number, and left the following

voicemail:

             Maxine, you outta there (unintelligible) ay.
             What, you about 80 years old nigga?     Look,
             you better go bye bye bitch.     Nigga bitch,
             look, you got the wrong boys in the area,
             you got two days (unintelligible). We got a
             contract on your bitch ass, black ass,
             motherfucker ass. You better move man. You
             better God damn move (unintelligible).     If
             not, we gonna put a cap between your
             motherfucking   eyes  hoe   (unintelligible).
             I'm gonna stomp you bitch.    We finna stomp
             you, bitch. We finna stomp you bitch.

     12.     On November 8, 2022, at approximately 6:02 p.m. PST,

an identified suspect called the phone number associated with

Congresswoman Waters’ Hawthorne, California district office from

the target phone number, and left the following voicemail:

             Hey Maxine. You done fucked up (inaudible).
             This ain't no threat man. We're just gonna
             give you a present man.     We're gonna meet
             you on the street, bitch and give you a
             fucking present.   Like, like, like you told
             everybody else bitch like, uh, box them up.
             Be negative.    Get in their face.      We're
             finna get in your face bitch.     You nigger,
             bitch, we finna get in your face bitch. You
             know what I'm saying?    You fucking with a
             wrong crowd now, nigga.   You affiliated now
             with, hey well that’s a nigga man. We got a
             contract to take your ass out bitch.

     13.     On November 10, 2022, at approximately 7:50 p.m. PST,

an identified suspect called the phone number associated with

Congresswoman Waters’ Hawthorne, California district office from

the target phone number, and left the following voicemail:

                                    6
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 8 of 15



              I'm gonna listen to you, Maxine, uh,
              threatening people all across the goddamn
              country.   Beat 'em up.   You know, all this
              violent shit that you advocate, I'm gonna
              tell you right now, this ain't no threat.
              It's a goddamn promise.     Gonna watch your
              fucking back bitch.    Hey, why can’t I say
              it? You say it, you black bitch. You wanna
              play games?    You telling people, man, and
              beat them up and you chase the motherfuckers
              down. Good people, man. Fuck you. We can
              play goddamn gang too.    Bitch.  You better
              watch your back hoe.

        14.   I listened to recordings of the four voicemails

referenced above, and I believe that the same person left these

four voicemails because the tone and the accent of the voice is

the same in each recording.     As discussed in the following

section, evidence shows that GAHERTY is the individual who made

these threatening calls.

          c. GAHERTY is Identified as the Suspect Who Used the
             Target Phone Number to Threaten to Assault and Kill
             Congresswoman Waters in August and November 2022

        15.   While investigating the threats received by

Congresswoman Waters from the target phone number on November
17, 2022, I learned that the Houston Police Department (“HPD”)

investigated threats received by a Latina news reporter in

Houston, Texas, also from the target phone number, on August 8,

2022.    I reviewed the HPD report associated with this

investigation, and spoke to the HPD detective who investigated

the case, and learned the following:

              a.   On August 18, 2022, HPD Detective Andrew Carroll

called the target phone number and interviewed the individual

who answered the phone.     HPD Detective Carroll recorded this


                                    7
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 9 of 15



telephonic interview, and I have reviewed this recording.

During this interview, the individual who answered the target

phone number stated that his name was “Brad Beeler,” the target

phone number was his new phone number, and his old phone number

was a number ending in -8451.      The individual who answered the

target phone number also stated that he was shot on June 23,

2016, and he spoke to HPD Detective Greene when this incident

occurred.

              b.   On August 18, 2022, after speaking with the

individual who answered the target phone number, HPD Detective

Carroll called HPD Detective M. Greene, and asked Detective

Greene if he spoke with the victim of a shooting on June 23,

2016.    Detective Greene informed Detective Carroll that he

investigated an aggravated robbery that took place in Houston,

Texas on June 23, 2016, and the victim who was shot and reported

the incident was Brian Michael GAHERTY.

        16.   I reviewed the HPD report associated with the June 23,

2016 aggravated robbery investigated by Detective Greene.           This

report indicates that GAHERTY provided his phone number, which

ended in -8451, to Detective Greene on June 23, 2016.          Other

than the area code, the number provided was the same phone

number that the individual who answered the target phone number

described as his “old phone number” during Detective Carroll’s

August 18, 2022 telephonic interview of this individual.

        17.   On October 17, 2022, while investigating threats

received by another Congresswoman from the target phone number,

I called the target phone number and asked the individual who


                                    8
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 10 of 15



answered the phone for their identity.        This individual reported

that his name was “Tommy Bealer.”       I searched law enforcement

and open-source databases for the name “Tommy Bealer” as well as

the name “Brad Beeler.”     I discovered that a Tommie Lee BEALER

lived in Houston, Texas and died on March 4, 2003.          A historical

search of Tommie Lee Bealer’s address indicates that from 1993 –

2003, he resided approximately 3.6 miles from GAHERTY’S

residence.    I also found a Thomas E. Beeler (78 years old) and

a Thomas Mayes Beeler (24 years old), both having a reported

address within approximately 15 miles of GAHERTY’S residence.

No information linked GAHERTY to any of these individuals.

Given the similarity of the names “Beeler” and “Bealer,” I

concluded that both “Brad Beeler” and “Tommy Bealer” are false

names that were provided to Detective Carroll and myself by the

person who owns and uses the target phone number to evade law

enforcement.

     18.     I also believe that the person who answered the target

phone number on October 17, 2022 and spoke with me is the same

person who left threatening voicemails with Congresswoman Waters

in August and November 2022, because the tone and accent of the

voice of the person with whom I spoke matched the tone and

accent of the voice that left the threatening voicemails with

Congresswoman Waters.

     19.     On December 15, 2022, Federal Bureau of Investigations

(“FBI”) Task Force Officers M.D. Smith and G. Roberson

interviewed GAHERTY at GAHERTY’s residence.         This interview was

recorded by TFO Smith’s and TFO Roberson’s body cameras, and I


                                    9
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 11 of 15



reviewed this body camera video footage.        During this interview,

GAHERTY identified himself as Brian Michael GAHERTY, confirmed

he was born in July 1962, with social security number ending in

-1881, and that he is the only individual living at his

residence.    GAHERTY also stated, on two occasions, that his

phone number is a number ending in -8351.        GAHERTY told TFO

Smith and TFO Roberson that he spoke to HPD Detective Greene

when he was shot during a robbery that took place at his

residence.    GAHERTY also stated that he owns two firearms.

     20.     After approximately fifteen minutes, GAHERTY invited

TFO Smith and TFO Roberson to enter his residence so that he

could retrieve his phone.     Once inside, GAHERTY showed TFO Smith

and TFO Roberson a clear bag of cell phones, in various

conditions, and represented to TFO Smith and TFO Roberson that

these cell phones did not work.

     21.     GAHERTY showed TFO Smith and TFO Roberson two receipts

from a Wal-Mart located at 11210 W. Airport Boulevard, Stafford,

TX 77477, approximately fourteen minutes from his residence: (1)

a June 3, 2022 receipt for the purchase of a Tracfone Alcatel

MyFlip 2, model number 061696038408, cell phone, with serial

number 840016023003090648; and (2) a July 1, 2022 receipt for

the purchase a Tracfone Alcatel MyFlip 2, model number

061696038408, cell phone, with serial number 840016023003347899.

     22.     After reviewing the body camera footage of TFO Smith

and TFO Roberson, as well as their report related to the

interview, I determined that GAHERTY was the individual who

called Congresswoman Waters’ Hawthorne, California office using


                                    10
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 12 of 15



the target phone number and threatened to assault and kill her

in August and November 2022.      I reached this conclusion because:

           a.   The receipt GAHERTY showed TFO Smith and TFO

Roberson for a TracFone cell phone he purchased from Wal-Mart on

July 1, 2022, showed that the serial number for this cell phone

was 840016023003347899.     The last 14 digits of the serial number

of this cell phone match the serial number of the target phone

number, which I learned by reviewing subscriber information

provided by TracFone for the target phone number.

           b.   An individual who answered the target phone

number and spoke with HPD Detective Carroll on August 18, 2022,

regarding the investigation of threats received by C.D.,

indicated that he was the victim of a shooting on June 23, 2016,

he spoke with HPD Detective Greene about this shooting, and

provided his old phone number, which had a number ending in

-8451.   In his December 15, 2022 interview with TFO Smith and

TFO Roberson, GAHERTY represented that he was the victim of a

shooting at his residence, and he spoke with HPD Detective

Greene about this incident.      He also provided his current phone

number, which matched the phone number he provided to Detective

Carroll with the exception of one digit.

           c.   Location data provided by T-Mobile shows that the

target phone number connected to a cellular tower located at

4325 2/3 W. Fuqua St #C, Houston, Texas 77045, which is

approximately .7 miles from GAHERTY’s residence, at the times

that he left four threatening voicemails with Congresswoman

Waters on August 8, November 8, and November 10, 2022.           T-Mobile


                                    11
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 13 of 15



toll records further show many calls between August and November

2022 from the target phone number to phone numbers associated

with GAHERTY’s siblings based on open-source information.

            d.   I listened to recordings of the four threatening

voicemails left with Congresswoman Waters, as well as the

recording of Detective Carroll’s August 18, 2022 interview with

the user of the target phone number.        I also personally spoke to

the user of the target phone number when I interviewed this

person on October 17, 2022.      The voice of the person who left

the threatening voicemails with Congresswoman Waters matches the

voice of the person who spoke with Detective Carroll on August

18, 2022, as well as the voice of the person I spoke with on

October 17, 2022.    The voice of this person matches the voice of

GAHERTY, based on my review of the recording of GAHERTY’s

December 15, 2022 interview by TFO Smith and TFO Roberson.

          d. Further Investigation Reveals That GAHERTY Frequently
             Threatens to Assault Other Congresswomen of Color

     23.    During my investigation into GAHERTY’s threats to

assault and kill Congresswoman Waters in August and November

2022, I learned that GAHERTY has a history of sending racist,

violent threats to other Congresswomen using the target phone

number.    In addition to his threats targeting Congresswoman

Waters, GAHERTY has called and left threatening voicemails with

two other Congresswomen.

     24.    From September 2022 to February 2023, GAHERTY left ten

voicemails for another Congresswoman (“Congresswoman 2”) using

the target phone number, threatening to assault her.          For



                                    12
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 14 of 15



example, on September 11, 2022, GAHERTY used the target phone

number to leave the following voicemail:

           I ain’t threatening you fucking Latino
           whore. You fucking whore. My people going
           to do some damage on you. You know what I’m
           saying?   Now we’re not going to kill you.
           We’re gonna make you suffer a bitch.    You
           better act right, hoe.

     25.   After I called the target phone number on October 17,

2022 to interview GAHERTY about threats received by

Congresswoman 2 from the target phone number, GAHERTY persisted

in his threats to assault Congresswoman 2.         In the voicemails

left by GAHERTY on and after October 17, 2022, GAHERTY

repeatedly references his belief that Congresswoman 2 reported

previous threats by GAHERTY to the USCP.        For example, on

October 17, 2022, the same day that I telephonically interviewed

GAHERTY, GAHERTY left the following voicemail for Congresswoman

2, using the target phone number:

           I'm not threatening nobody You.          Keep
           getting the Capitol police, man.    You know
           what?   You're gonna cause the problem for
           your fuck yourself dog. I'm not threatening
           nobody.   I'm making a comment.   Freedom of
           speech.   .   .  .     Fuck  you   [Name   of
           Congresswoman].   Hey, hey, puta, puta, puta
           (inaudible) hey suck my dick, suck my white
           dick.   Bitch, this is not no threat.    Call
           the Capitol police. I'll tell them to suck
           my dick too.

     26.   Also, on November 8, 2022, GAHERTY left the following

voicemail for Congresswoman 2, using the target phone number:

           You fucked up man. You snitch motherfucker.
           Now we gotta come over here and take care of
           our fucking business.    You know what I'm


                                    13
   Case 4:23-mj-00716 Document 1 Filed on 04/13/23 in TXSD Page 15 of 15



           saying?    Be careful, bitch.   Watch your
           back, man.    We got you, man. You finito,
           man. Comprendo.

     27.   GAHERTY also left the following voicemail for another

Congresswoman (“Congresswoman 3”), using the target phone number

on November 8, 2022:

           Yeah, this is a Texas syndicate.       Your
           motherfucking ass is through.    You better
           watch your fucking back bitch. Adios.

                              VII. CONCLUSION

     28.   For all of the reasons described above, there is

probable cause to believe that GAHERTY committed the Subject

Offense.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
        e on this 10th day of
telephone
        023.
April, 2023.



        RABLE PEDRO V. CASTILLO
THE HONORABLE          CASTIL
        TATES MAGISTRATE JUDGE
UNITED STATES            JUDG




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